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TROY-CSL LIGHTING, INC.

UNITED STATES DISTRICT c`oURT w

 

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CENTRAL DISTRICT OF CALIFORNIA
WESTERN DIVISION

 

TRGY-CSL LIGHTING, INC.,

VS.

Plaintiff,

BATH KITCHEN DECOR LLC,
DAVID TROPPER and LARRY

KRAYZMAN,

Defendants.

 

 

COMPLAINT FOR:

(1) FEDERAL TRADEMARK
INFRINGEMENT UNDER THE
LANHAM ACT § 43(21);

(2) FALSE ADVERTISING AND
UNFAIR COMPETITION UNDER
THE LANHAM ACT § 43(3);

(3) UNFAIR COMPETITION UNDER
CALIFOR_NIA BUSINESS AND
PROFESSI()NS CODE § 17200;

(4) INTENTI()NAL INTERFERENCE
WITH BUSINESS RELATIONSHIPS

(5) TRADEMARK COUNTERFEITING
UNDER THE LANHAM ACT § 43(3)

Plaintiff, TROY-CSL LIGHTING, INC., (“Troy” or “Plaintiff’) for its

complaint avers as follows:

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INTRODUCTION

This is a complaint for trademark infringement, trademark
counterfeiting, false advertising, unfair competition, and intentional
interference with business relationships Defendants ROBERT TROPPER,
LARRY KRAYZMAN (“Krayzman”), and their business entity BATH,
KITCHEN DECOR, LLC (“BKD”), (collectively, “Defendants”) have sold
and advertised for sale unauthorized lighting products allegedly produced by
Plaintiff TROY-CSL LIGHTING, INC. Defendants conduct such activities
while using Troy‘s federally registered trademarks, without authorization, to
willfully and intentionally confuse consumers into believing an association
exists between Defendants and Troy. Additionally, the products and services
provided by the Defendants are materially different from the genuine products,
and services provided by Troy and Troy's authorized distributors, thus
Defendants' products are counterfeit Further, their actions have interfered
with the business relationships Troy has with its authorized distributors and
constitute unfair business practices.

,`|URISDICTION AND VENUE

1. This is a civil action for trademark infringement arising under the
Lanham Act, 15 U.S.C. § 1125 (a), pursuant to which this Court has
jurisdiction under 15 U.S.C. § 1121. This is also a civil action for relief and
damages for false advertising arising under the Lanham Act, 15 U.S.C. § 1125
(a), pursuant to which this Court has jurisdiction under 15 U.S.C. § 1121.
This Court has jurisdiction over the subject matter of this action based upon 28
U.S.C. §§ 1331 and 1338(a) and (b), providing for federal question
jurisdiction of trademark infringement actions and exclusive jurisdiction of
trademark infringement actions in the U.S. district courts. This Court has
jurisdiction over any remaining claims in this action pursuant to the doctrine

of supplemental jurisdiction and 28 U.S.C. § 1367.

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2. Plaintiff Troy is informed and believes, and thereon alleges, that
venue in this Court is proper under 28 U.S.C. § 1391(b) because the acts of
trademark infringement, trademark counterfeiting, unfair competition, false
advertising, and intentional interference with business relationships alleged
herein were engaged in within this judicial district, and the both the Plaintiff
and Defendants do business within this judicial district.

PARTIES

3. Plaintiff Troy is a corporation organized and existing under the
laws of the State of New York and having a principal place of business at 106
Pierces Road, Newburgh, New York 12550. Troy sells and promotes light
fixtures in this judicial district. Troy also has a place of business at 14508
Nelson Ave, City of Industry, California 91744.

4. On information and belief, Defendant Tropper is an individual
who is listed as the “organizer” and agent for service of process for Bath
Kitchen Décor LLC. Tropper’s listed address, as agent for service of process,
is 185-12 Union Turnpike, Fresh Meadows, New York 11366. On
information and belief, Tropper resides at 8425 Abingdon Road, Kew
Gardens, New York, 11415.

5 . On information and belief, Defendant Krayzman is listed as an
owner of Bath Kitchen Décor LLC, and he resides at 1463 Ocean Ave, Apt.
4F, Brooklyn, New York 11230.

6. On information and belief, Defendant Bath Kitchen Décor LLC is
a New York limited liability company, created by Defendants Tropper and
Krayzman, having its principle place of business at 2918 Avenue J, 2nd Floor,
Brooklyn, New York 11210. On information and belief, BKD sells and
promotes light fixtures in this judicial district.

7. On information and belief, Defendant BKD is an alter ego of

Defendants Tropper and Krayzman. On information and belief, Defendant

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BKD has never issued stock, has held no board meetings, and has kept no
corporate minutes. On information and belief, Defendant BKD has failed to
observe the most basic of corporate formalities Upon information and belief,
Defendants Tropper and Krayzman are the individuals that made the specific
decisions to use Troy's marks in an unauthorized manner on Defendants'
websites and made additional decisions and took additional actions in
furtherance of the trademark infringement and other and related claims in this
Complaint.

8. On information and belief, Defendant Krayzman is listed as the
registered contact for the websites www.bathkitchendecor.com,
www.designersupplyhouse.com, www.lightingshowhouse.com, and
www.eagleslighting.com which display the infringing activity and are the
source of other related claims in this Complaint.

9. On information and belief, Defendants have committed the acts

alleged herein in this state and this judicial district.

TROY‘S TRADEMARKS AND DEFENDANTS' INFRINGING
WEBSITES
10. Troy has designed, manufactured, advertised, and Wholesaled

thousands of high-end, unique lighting fixtures and other design lighting
products for over 20 years. It sells its products under its TROY LIGHTING
marks through various high-end distributors. All of Troy‘s distributors are
trained and required to provide sophisticated stores and websites which reflect
the high-end quality of the Troy brand. Each of these stores and websites are
vetted and approved by Troy employees before any request to be an authorized
distributor is approved. In addition, Troy‘s authorized distributors are
contractually required to provide exceptional customer service, including

providing a toll-free number on the top of every webpage and having

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dedicated customer service representatives available from 8200 a.m. - 8:00
p.m. EST for a minimum of five days a week. Troy‘s authorized distributors
are contractually forbidden from selling, drop shipping, or in any way
transferring Troy product to, or for, an unauthorized distributor who has not
signed a distributor agreement with Troy and agreeing to the same terms.
Doing so ensures Troy‘s ability to control the quality of customer satisfaction
with the Troy product and buying experience, and the goodwill of Troy.

11. It is important that consumers buy Troy products directly from
authorized distributors actually affiliated with Troy because such distributors
are trained regarding the Troy products, and consumers Who purchase
products, and must make exchanges or returns or get replacement parts for
their Troy products, must do so directly from the distributor or retailer where
they bought the product, and where the customer will receive excellent
customer service, Moreover, Troy‘s manufacturer warranty is extended only
to Troy's authorized distributors and customers. Should customers have
problems with the retailer, Troy will provide assistance to customers under the
warranty, provided they bought the product from an authorized distributor.

12. As a testament to Troy‘s recognition and reputation for high-end
lighting fixtures, Troy‘s sales in California alone are approximately
$2,000,000. Additionally, Troy has approximately 2500 authorized
distributors nationwide.

13. On October 21, 2008, Troy was awarded U.S. Trademark
Registration No. 3,520,415 for the word mark "CSL" for use with electrical
lighting apparatus (“the ‘415 mark") (see Exhibit A).

14. On February 8, 2005, Troy was awarded U.S. Trademark
Registration No. 2,924,876 for the word mark “COUNTER ATTACK” for use
with electrical lighting fixtures (“the ‘876 mark”) (see Exhibit B).

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15 . On June 26, 2007, Troy was awarded U.S. Trademark
Registration No. 3,257,013 for the Word mark “ABEO” for use with electrical
lighting fixtures (“the ‘013 mark”) (see Exhibit C).

16. Troy has spent approximately $15,000,000 over the last five years
in advertising, promotional activities, trade shows, and conventions promoting
its Troy products using the ‘415, ‘876, and ‘013 marks, as well as its Troy
Lighting and Troy-CSL Lighting marks. As a result, Troy and its marks have
become highly famous and enjoy widespread consumer recognition and
substantial goodwill.

17. Due to Troy’s significant time and resources expended promoting
and enforcing its brand and marks, customers identify lighting fixtures sold
under the ‘415, ‘876, and ‘013 marks (collectively, “the Troy marks”), as well
as through products sold under the “Troy Lighting” and “'I`roy-CSL Lighting”
marks as being the high quality products of Troy.

18. lt recently came to Troy’s attention that the Defendants owned,
operated, and/or controlled several websites, including but not limited to,
www.bathkitchendecor.com, www.designersupplyhouse.com,
www.lightingshowhouse.com, and www.eagleslighting.com (collectively,
“Defendants’ Websites”). On these websites, the Defendants offer to sell
thousands of purported Troy lighting fixtures (sample screenshots are attached
as Exhibit D), utilizing Troy’s marks, official Troy photographs, Troy’s
manufacturing numbers, and descriptions of the products which it make it
appear that the Defendants' websites are sponsored or otherwise affiliated with
Troy or Troy’s authorized distributors. The Defendants further falsely
advertise that the “manufacturer ships the merchandise directly to our
customer or we bring the merchandise into our warehouse and ship them back
out to our customers on the day we receive the product. Once an order ships

from the manufacturer to our facility we can no longer cancel this order ...”

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(See Exhibit E). Troy does not drop ship orders directly to customers nor has
Troy ever shipped anything to any of the Defendants.

19. Defendants' websites have a minimalist and shoddy appearance,
in contrast to Troy’s authorized distributors Defendants’ websites do not offer
the same exchange, return, and warranty policies as provided by authorized
distributors They do not have a dedicated customer support representative
and hundreds of complaints have been made against them regarding their
customer service (see Exhibit F). Even the Better Business Bureau of New
York has documented 31 complaints against BKD and they have a BBB rating
of “F” (See Exhibit G). This is completely contrary to the exceptional services
extended by Troy’s authorized representatives and which Troy authorized
distributors are contractually obligated to extend. Accordingly, the services
provided by Defendants are negatively and materially different from those
provided by Troy authorized distributors that offer genuine Troy products,
thereby confusing customers and damaging Troy‘s image, reputation, and
brand in the process 4

20. Defendants warranty is not the same as the warranty provided by
Troy’s authorized distributors the services provided by the Defendants are not
the same as that required by Troy’s authorized distributors and on information
and belief, Defendants have removed Troy’s Quality Control label from boxes
of shipped Troy lighting fixtures Each of these acts constitutes the trafficking
in counterfeit goods, as the goods are negatively and materially different than
those provided by Troy through their authorized distributors

21. On information and belief, Defendants use a business model in
which the Defendants must try to find illegal avenues to purchase Troy
products only after a consumer attempts to buy it. This results in significant
delays in product delivery by what the customer is, confusingly, led to believe

is an Authorized Representative of Troy. The delay in receiving product

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impacts the ability of Troy to control the quality of the services provided
under its marks and damages Troy‘s reputation, brand, and image, by causing
consumers to believe such behavior is sanctioned by Troy when it is not.

22. On Defendants' websites customers are not informed of Troy‘s
Warranty program. Nor are they informed that Troy‘s manufacturer warranty
does not extend to them because Defendants are not authorized distributors
Because the Defendants' products do not come With the Troy warranty, they
are negatively and materially different from the genuine products sold by
Troy’s authorized distributors Accordingly, Defendants are selling counterfeit
products with Troy marks

23. On information and belief, because of Defendants' business
model, they do not have replacement products or parts in stock, and must
source them from illegal avenues once a problem arises This causes long
delays in the customer receiving replacement products or parts if a customer
must return a defective product. Because Troy’s warranty does not apply to
Defendants' products those customers cannot turn to Troy to assist them in
replacing the product or parts and the customer is at the mercy of the
unauthorized Defendants to make them whole. As noted above, complaint
websites are rife with customers documenting Defendants' incomparably poor
customer service and the inability of customers to find replacement products
or parts Such circumstances created by the Defendants' behavior, damages
Troy’s brand, image, and reputation,

24. A quick review of ratings websites show that Defendants'
websites are notoriously bad at providing customer service, Those customer
complaint websites document the copious problems customers have had with
Defendants' websites for difficulties with exchanges returns broken products

and long delays in receiving product in the first place.

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25 . These actions (or inactions) by the Defendants are likely to cause
confusion to consumers and harm to Troy’s brand, image, and reputation,
because customers and the public are left to believe that, by the use of Troy‘s
registered and common law trademarks official Troy photographs and official
product descriptions Troy endorses or is otherwise affiliated with such actions
when it is not. Moreover, the products they sell are materially different in the
goods and services provided by Troy and its authorized representatives under
the Troy’s registered and unregistered trademarks

26. Defendants are, and have been, aware of Troy’s marks by Troy‘s
marking the marks with a registered "circle R" (®) on catalog labeling and its
website. Additionally, Defendant Krayzman, and Defendant BKD, have
received several phone calls and emails from Troy, as well as correspondence
from Troy’s attorneys wherein they have been informed of Troy’s marks and
Defendants' infringement thereof, claims of false advertising, counterfeit
marking, and the other claims in this Complaint (see for example, Exhibit H).
Thus, Defendants actions have been willful.

27. Upon information and belief, Defendants Tropper and Krayzman
are the majority owners and lead decision makers of Defendant BKD and the
owners of www.bathkitchendecor.com, www.designersupplyhouse.com,
www.lightingshowhouse.com, and www.eagleslighting.com On information
and belief, Defendants Tropper and Krayzman are the individuals that made
the specific decision to use the Troy marks on their websites and made
additional decisions and took additional actions directly in furtherance of the
trademark infringement and other related claims in this Complaint. Thus,
Defendants Tropper and Krayzman are individually liable for these actions

28. Defendants' many uses of Troy’s marks both registered and
unregistered, and other confusineg similar or exact duplicates of Troy’s

marks especially when combined with Defendants' use of official images and

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product descriptions infringe upon Troy‘s federally registered trademarks (and,
in common law, its unregistered trademarks) in that those uses cause
confusion regarding the relationship, affiliation, or sponsorship of Defendants
and Troy. If Defendants are allowed to continue their wrongful activities
consumers will continue to be confused into believing that they are buying
products from and dealing with Troy or an authorized Troy representative,
when they are not. Defendants actions (or inactions), as stated above, confuse
customers into buying products which are materially different from Troy‘s
genuine products and are therefore counterfeit, and further damage Troy’s
brand, image, and reputation, in addition to constituting trademark
infringement (both under the Lanham Act and common law) and unfair
competition.

DEFENDANTS' INTERFERENCE WITH TROY'S BUSINESS

RELATIONSHIPS

29. On information and belief, Defendants' actions and business
model require that they purchase Troy products from authorized dealers In
doing so, those authorized defendants must breach their contract with Troy to
provide Defendants with Troy products because those authorized dealers are
contractually prohibited from doing so.

30. Defendants flaunt the requirements of Troy‘s authorized
distributor contract. Defendants' websites are not of the quality that Troy
allows to be an authorized dealer. Defendants do not provide the level of
customer support required of Troy’s authorized dealers This leads
distributors both current and prospective, to believe that there is little reason
to become authorized distributors and to reconsider performing the actions
required according to Troy’s distributor contract. It also causes authorized

distributors to reconsider before deciding to re-sign as an authorized

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distributor, and further prompts other potential authorized distributors to forgo
becoming an authorized distributor at all.

31. Troy has received numerous complaints from authorized
distributors regarding the actions of Defendants and inquiries as to why the
Defendants are not held to the same standards as other authorized distributors
and the Troy distributor contract (See Exhibit I).

32. These actions thus interfere with Troy‘s business relationships
both existing and prospective,

33. The actions of the Defendants constitute trademark infringement,
false designation of origin, and counterfeiting of Troy’s marks as well as false
advertising, unfair competition, and intentional interference with business
relationships

FIRST CAUSE OF ACTION
(Trademark Infringement - 15 U.S.C. §1125(3))

34. Troy incorporates by reference paragraphs 1 through 33 above as
if fully set forth herein.

35. Troy owns U.S. Trademark Registration Nos 2,924,876,
3,520,415, and 3,257,013 for the word marks “COUNTER ATTACK,”
“CSL,” and “ABEO,” respectively (collectively, “Troy’s marks”), for use in
marketing and selling electrical lighting fixtures

36. Defendants are not licensed or otherwise authorized to use Troy’s
marks

37. Defendants have used Troy’s marks in marketing and selling
allegedly new, authorized, and genuine Troy electrical lighting fixtures

38. Defendants knew or had reason to know of Troy‘s ownership of

Troy’s marks

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39. Defendant’s uses of the above terms are likely to cause confusion
and the mistaken belief that Defendants are authorized agents of Troy as they
are confusineg similar to Troy’s marks

40. Defendants’ conduct constitutes trademark infringement or false
designation of origin in violation of Section 43(a) of the Lanham Act, 15
U.S.C. § 1125 (a),

41. Defendants’ conduct is willful and in bad faith.

42. Defendants will continue their infringing conduct unless enjoined
by this Court.

43. Defendants’ infringement has caused and is causing irreparable
harm to Troy, for which Troy has no adequate remedy at law.

44. Troy has been damaged by defendants’ infringement and, unless
and until an injunction issues will continue to be damaged in its business
reputation, and property in an amount yet to be determined, but at least
$5,000,000.

45 . As a direct and proximate result of Defendants’ actions Troy is
entitled to an award of three times its actual damages the profits of defendant,
and reasonable attorneys fees and costs pursuant to 15 U.S.C. §§ 1117 and
1125 .

SECOND CAUSE OF ACTION
(False Advertising - 15 U.S.C. § 1125(a))

46. Troy incorporates and realleges Paragraphs 1-45 above, as if
fully set forth herein.

47. Troy alleges that Defendants have disseminated advertising
materials which are untrue and/or misleading, and have used a false
designation of origin as to their Troy products in violation of Section 43(a) of

the Lanham Act, 15 U.S.C. § 1125(a).

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48. Among other things Defendants have marketed and distributed
allegedly genuine Troy products interstate on the Internet and in this judicial
district with statements indicating a connection between Troy and the
Defendants when they are not.

49. Defendants’ statements are false statements of fact about their
affiliation, association, or sponsorship with Troy which misrepresents the
nature, qualities and services associated with the products that Defendants
sell.

50. Because of Defendants’ false statements consumers are likely to
be deceived into believing that Defendants and the products they sell and the
services they provide are authorized by Troy.

51. Troy is harmed by Defendants’ false statements because (l)
consumers being deceived, purchase Troy products from Defendants instead
of actual authorized Troy distributors thereby undermining Troy’s authorized
distributorship program and the quality and reputation that such program
brings and (2) consumers doubt the quality that Troy presents because they
believe Troy authorizes shoddy websites poor customer service, and refuses
to provide a manufacturer Warranty, which reflects upon the quality of
products and services Troy provides

52. Defendants acts complained of herein have been committed
willfully and With knowledge that such conduct falsely describes the
association, affiliation, and/or sponsorship between Troy and the Defendants
with the intent to cause confusion, and mistake, or to deceive the public.

53. On information and belief, Defendants threaten to continue the
conduct complained of herein, and unless enjoined, will continue such conduct
causing irreparable harm to Troy for which Troy has no adequate remedy at
law. Troy has also suffered damages for this conduct in an amount yet to be

determined, but upon information and belief is at least $5,000,000.

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54. As a direct and proximate result of Defendants conduct, Troy is
entitled to damages and a preliminary and permanent injunction enjoining and
restraining Defendants and their respective agents assigns and heirs from
engaging in the aforesaid acts

THIRD CAUSE OF ACTION

(Unfair Competition - Cal. Bus. & Prof. Code § 17200 et. seq.)

55 . Troy repeats realleges and incorporates by reference, as though
fully set forth herein, the allegations set forth in paragraphs 1 through 54
above,

56. The acts of Defendants including but not limited to trademark
infringement and false advertising violate Section 17200 et£qg of the
California Business and Professions Code, which prohibits any unlawful,
unfair, or fraudulent business practices or act, and any unfair, deceptive, false,
or misleading advertising.

57. Defendants will continue their unfair competition unless enjoined
by this Court.

58. Defendants' unfair competition has caused and is causing
irreparable harm to Plaintiff, for which Plaintiff has no adequate remedy at
law.

W

(Intentional Interference with Prospective Economic Advantage)

59. Troy incorporates and realleges Paragraphs 1-58 above, as if fully
set forth herein..

60. Troy alleges that Defendants wrongfully, unjustifiably, and
intentionally interfered With Troy‘s business relations and prospective

economic advantage in violation of California common law.

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61. Troy has an economic relationship with many current California-
based and other distributors and with prospective customers with Whom, on
information and belief, Defendants are, or were in the process of, negotiating
sales and relationships and/or otherwise disrupting contractual relationships
which Troy has in place.

62. By violating Troy’s distributor agreement, and encouraging others
to do so, the Defendants interfere with Troy’s current and prospective business
relationships

63. To the extent that Defendants have encouraged Troy’s authorized
distributors to sell Troy products to Defendants and thereby violate the Troy
distributor agreement, Defendants have interfered with Troy’s current business
relationships

64. Troy’s business relationships entail the probability of future
economic benefit and advantage to Troy in that these customers and potential
customers provide Troy with the opportunity to distribute their products on a
nationwide scale and who will endorse and promote Troy to others through
their accounts of their positive experience with Troy and their authorized
distributors

65. Defendants at all times have been aware of these economic
relationships

66. Defendants have intentionally engaged in conduct designed to
interfere with or disrupt these economic relationships including using Troy’s
marks and other malicious aforementioned acts to solicit these customers and
potential customers and inducing or attempting to induce these
customers/potential customers and distributors/potential distributors to end
their relationship with Troy and its authorized distributors by falsely
representing to these customers and authorized distributors that Defendants

can provide Troy products without providing the customer support and other

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quality control measures required of authorized distributors Defendants'
encouragement of Troy’s authorized distributors to Violate the Troy distributor
agreements further interferes with Troy‘s business relationships This conduct
by Defendants is wrongful independent from the acts of interference
themselves

67. Troy alleges that this conduct by Defendants has interfered with
or disrupted Troy’s economic relationships with its authorized distributors
customers and potential distributors/customers so that existing and potential
business created by Troy’s solicitation, promotion, and other efforts have been
diverted to Defendants Troy’s distributor and customer base has been eroded,
and Troy‘s reputation and goodwill have been injured.

68. As a proximate result of Defendants’ actions Defendants have
damaged Troy in an amount not presently ascertainable, but upon information
and belief, is to be at least $5,000,000.

69. On information and belief, Troy alleges that Defendants’ actions
as alleged were undertaken in bad faith, oppressively, and maliciously, such
that Troy is entitled to an award of exemplary damages in an amount sufficient
to punish and deter such conduct by Defendants in the future pursuant to Cal.
Civ. Code § 3294.

70. Defendants threaten to and unless restrained, will continue to
utilize Troy’s marks to Troy’s great and irreparable injury, for which damages
would not afford adequate relief, in that they Would not completely
compensate Troy for the injury to its reputation and goodwill. Further,
Defendants threaten to, and if not restrained, will continue to encourage
authorized distributors to break their contract with Troy by supplying
Defendants with Troy products to Troy’s great and irreparable injury, for
which damages would not afford adequate relief, in that they would not

completely compensate Troy for the injury to its reputation and goodwill.

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FIFTH CAUSE OF ACTION
(Trademark Counterfeiting -- 15 U.S.C. § 1114)

71. Troy incorporates and realleges Paragraphs 1-70 above, as if fully
set forth herein.

72. Defendants without authorization from Troy, have and continue
to use, spurious designation for their goods and services that are identical to or
substantially indistinguishable from the Troy’s marks

73. These products and services are materially different from genuine
Troy products promoted under the Troy’s marks

74. Troy has continuously marked its products and internet website
with the "circle R" (®), giving notice that Troy’s marks are federally
registered.

75. Defendants' wrongful use of such marks which are counterfeit
marks are intended to confuse the public into believing that Defendants and
Troy are affiliated, and such acts constitute trademark counterfeiting under the
Lanham Act,

76. Defendants' actions have been taken willfully and with deceptive
intent.

77 . Defendants’ unlawful conduct has caused and will continue to
cause, great immediate and irreparable harm to Troy‘s business reputation,
injury to its goodwill, and pecuniary damages

78. By reason of the foregoing, Troy is entitled to (a) statutory
damages in the amount of $1,000,000 for each mark counterfeited as provided
by 15 U.S.C. 1117 (c) of the Lanham Act, or at Troy‘s election, an amount
representing three (3) times Troy‘s damages or Defendants' profits; and (b)
reasonable attomey's fees investigative fees and prejudgment interest

pursuant to 15 U.S.C. § 1117(b).

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PRAYER FOR RELIEF
WHEREFORE, Troy prays for relief and judgment from this Court:
a. That the Court enter judgment in favor of Troy and against
Defendants;
b. That Defendants be preliminary and permanently enjoined from
using Troy’s marks and all marks confusingly similar thereto in conjunction

with the promotion, marketing, offering for sale, or sale of electrical lighting

fixtures;

c. That Defendants be enjoined from engaging in unfair
competition;

d. That Defendants be enjoined from engaging in false advertising,

and in particular from claiming to be an authorized distributor of Troy, or in
any other way confusing consumers into believing as such.

e. That Troy recover compensatory, incidental, and consequential
damages for Defendants' conduct in an amount to be proven at trial, but at
least $5,000,000, together with prejudgment interest thereon at the maximum
legal rate, or in the alternative, that Troy be awarded statutory damages of
$1,000,000 for each mark that the Defendants have willfully counterfeited and
infringed;

f. That Defendants be ordered to pay punitive and exemplary
damages in an amount to be proven at trial, together with prejudgment interest

thereon at the maximum legal rate;

g. That Troy recover treble damages for trademark infringement;
h. That Troy recover its reasonable attorney’s fees;
i. That Troy recover all unjust enrichment of Defendants;
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' " DEcoR, LLC coMPLAlNT

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j . That the Court award Troy its costs of suit incurred herein; and

For such other and further relief as this Court deems proper and

just.

Dated: November 25, 2013

Respectfully submitted,

BYERS IP LAW &
CONSULTING

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St¢phe@ry \

Attorne s for Plaintiff
TROY- SL LIGHTING, INC.

By:

 

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1 DEMAND FOR ,|URY TRIAL
2 Pursuant to FED. R. CIV. P. 38(b), Plaintiff TROY-CSL LIGHTING,
3 INC. hereby demands a jury trial of all claims against Defendants
4
5 Dated: November 25, 2013 Respectfully submitted,
6 BYERS IP LAW &
7 CONSULTING
8
9 By: St p en Byers ` \’
10 Attorne s for Plaintiff
11 TROY- SL LIGHTING, INC.
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